Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 1 of 18




                        EXHIBIT E
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 2 of 18

                                                                                                         36824074



                            UNITED STATES DISTRICT COURT                                             Apr 3 2011
                            EASTERN DISTRICT OF LOUISIANA                                             10:52AM




In re: Oil Spill by the Oil Rig                    *      MDL No. 2179
       “Deepwater Horizon” in the                  *
       Gulf of Mexico, on April 20, 2010           *      SECTION: J
                                                   *
This Document Relates To: All Cases                *      JUDGE BARBIER
                                                   *      MAGISTRATE JUDGE SHUSHAN
* * * * * * * * * * * * * * *                      *

               THE BP PARTIES’ SECOND REQUEST FOR PRODUCTION
                        OF DOCUMENTS TO HALLIBURTON

       Pursuant to Federal Rules of Civil Procedure 26 and 34, BP Exploration & Production

Inc. and BP America Production Company (the “BP Parties”) propound the following Requests

for Production of Documents to Defendant Halliburton Energy Services, Inc. (“Halliburton”) to

be responded to within 30 days of service. The BP Parties request that all documents and

electronically stored information responsive to the following Second Request for Production of

Documents be produced at the offices of Kirkland & Ellis LLP, 300 North LaSalle Street,

Chicago, Illinois, 60654.

                                          DEFINITIONS

       1.      “You,” “your,” and “yours” shall mean Halliburton, including without limitation

all of Halliburton’s present or former employees, agents or representatives, or anyone acting or

purporting to act for or on Halliburton’s behalf for any purpose whatsoever, and includes any and

all affiliates, subsidiaries, contractors and divisions, such as Sperry Drilling, and includes the

present employees, agents and representatives of those affiliates, subsidiaries, contractors and

divisions.
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 3 of 18




       2.      “Person” shall mean an individual as well as any entity including any

proprietorship, partnership, corporation, firm, committee, or any other organization.

       3.      “Communication” means any transmission of information by one or more persons

to one or more persons by any means including, without limitation, telephone conversations,

letters, telegrams, teletypes, telexes, telecopies, e-mail (including both business and personal

email), text messages, computer linkups, written memoranda, and face-to-face conversations;

“communication” also includes all documents and ESI containing, summarizing, or

memorializing any communication.

       4.      “Document” or “documents” includes “communications” as defined above, and

has the full meaning ascribed to it by Federal Rule of Civil Procedure 34(a), including

electronically stored information (“ESI”), and includes the original and any identical or non-

identical copy, regardless of origin or location, of any writing or record of any type or

description, including but not limited to all writings; records; contracts; agreements;

communications (intra or inter-company); correspondence; memoranda; letters; facsimiles;

electronic mail (e-mail); minutes, recordings, transcripts, and summaries of meetings, or

recordings of meetings, speeches, presentations, conversations, or telephone calls (whether

recorded in writing, mechanically, or electronically); handwritten and typewritten notes of any

kind; statements; reports; voice recordings; desk calendars; diaries; logs; drafts; studies;

analyses; schedules; forecasts; surveys; invoices; receipts; computer data; computer printouts;

financial statements; balance sheets; profit and loss statements; statements of earnings;

statements of net worth; credit reports; statements of operations; audit reports; financial

summaries; statements of lists of assets; work papers; pictures; photographs; drawings; computer

cards; tapes; discs; printouts and records of all types; instruction manuals; policy manuals and



                                                  2
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 4 of 18




statements; books; pamphlets; cancelled checks; check stubs; and every other device or medium

by which information or intelligence of any type is transmitted, recorded, or preserved, or from

which intelligence or information can be perceived.

        5.      “Identify,” when used with respect to: (a) an individual, shall mean to provide the

individual’s full name, job title and employer during the period referred to, and current or last-

known address and telephone number and business address and telephone number; (b) any entity

other than an individual, shall mean to provide the entity’s full name and current or last-known

address (designating which); and (c) a document, shall mean to provide the date, title, subject

matter, author(s), recipient(s), and Bates number(s).

        6.      “Including” or “includes” means “including but not limited to” and “including

without limitation.”

        7.      “Relating to” or “related to,” when referring to any given subject matter, means

any document that constitutes, comprises, involves, contains, embodies, reflects, identifies,

states, mentions, alludes to, refers directly or indirectly to, or is in any way relevant to the

particular subject matter identified.

        8.      The words “and” and “or” should be construed conjunctively or disjunctively as

necessary to make the request inclusive rather than exclusive.

        9.      “Any” should be construed, when possible, to mean “any and all.”

        10.     “Each” should be construed to include the word “every,” and “every” should be

construed to include the word “each.”

        11.     The singular includes the plural, and the plural includes the singular.

        12.     “MC252 well” and “Macondo well” refer to the exploratory well that was being

drilled by the Deepwater Horizon in the Macondo prospect of Mississippi Canyon 252 in the



                                                   3
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 5 of 18




outer continental shelf of the Gulf of Mexico, approximately 130 miles southeast of New

Orleans, Louisiana.

       13.     “Halliburton” means Halliburton Energy Services, Inc. and all of its affiliates,

subsidiaries, contractors and divisions, such as Sperry Drilling, and includes the present

employees, agents and representatives of those affiliates, subsidiaries, contractors and divisions.

       14.     “BP” means BP p.l.c and all of its affiliates and subsidiaries.

       15.     “Kick,” whether or not capitalized, means the intrusion of hydrocarbons into a

wellbore.

       16.     “Blowout,” whether or not capitalized, means an uncontrolled release of

hydrocarbons from a well.

       17.     “OptiCem” means Halliburton’s proprietary software used to model cement slurry

operations and as that term was used by Halliburton in communications with BP.

                                         INSTRUCTIONS

       1.      All documents are to be produced in accordance with Pre-Trial Order No. 16.

       2.      Produce all documents in the order in which they appear in your files. Documents

that, in their original condition, are stapled, clipped, or otherwise fastened together shall be

produced in this same condition.

       3.      Produce all documents within your possession, custody, or control including all

documents in the possession, custody or control of your affiliates, partners, employees, agents,

attorneys, accountants, advisors, consultants, or other persons directly or indirectly connected

with you or subject to your control.




                                                  4
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 6 of 18




        4.      If any responsive document has been lost, destroyed, removed from, or is no

longer in your possession, custody, or control for any reason, please identify the document, its

last known location, and the circumstances surrounding its loss, destruction or removal.

        5.      If you contend that any responsive document is protected from disclosure

pursuant to any privilege or work-product doctrine, then you must comply with the requirements

of Pre-Trial Order No. 14 and Federal Rule of Civil Procedure 26(b)(5).

        6.      Each request is to be construed independently and not by or with reference to any

other paragraph for purposes of limiting the scope of any particular request.

        7.      If you claim that the language of any request is vague or ambiguous, then you

must identify the language you believe is ambiguous and describe the different interpretations

that you believe may apply to such language. Regardless of any vagueness or ambiguity you

claim, you are to answer the request for production and produce the requested documents to the

best of your ability.

        8.      If no documents responsive to a particular request exist, or if such documents

exist but are not in your possession, custody, or control, then your response to that request shall

so state.

        9.      Pursuant to Federal Rule of Civil Procedure 26(e), these requests are continuing

and you must revise or supplement your responses and production whenever new or additional

responsive information becomes known.




                                                 5
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 7 of 18




                               REQUESTS FOR PRODUCTION

       1.      Please produce all of Jesse Gagliano’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       2.      Please produce all of Vincent Tabler’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       3.      Please produce all of Nathaniel Chaisson’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       4.      Please produce all of Tim Quirk’s documents discussing, reflecting or relating to

the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       5.      Please produce all of Richard Vargo’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,



                                                 6
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 8 of 18




OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       6.      Please produce all documents discussing, reflecting or relating to Richard Vargo’s

conversations with Paul Anderson, Nathaniel Chaisson, Jesse Gagliano, Vincent Tabler,

Christopher Haire, Ronnie Faul, Tommy Roth, or Anthony Badalamente regarding the Macondo

well, including the notes that Mr. Vargo testified at his deposition that he took.

       7.      Please produce all of Kris Ravi’s documents discussing, reflecting or relating to

the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       8.      Please produce all of Anthony Badalamente’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       9.      Please produce all of Tommy Roth’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).




                                                  7
   Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 9 of 18




         10.   Please produce all of Carl Blanchard’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

         11.   Please produce all of Michael Serio’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

         12.   Please produce all of Ronnie Faul’s documents discussing, reflecting or relating to

the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

         13.   Please produce all documents discussing, reflecting or relating to Ronnie Faul’s

conversations discussing, reflecting or relating to the cement slurry for the Macondo well,

including the notes that Mr. Faul took of his conversation with Mr. Quirk relating to the cement

tests.

         14.   Please produce all of Tony Angel’s documents discussing, reflecting or relating to

the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),




                                                 8
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 10 of 18




laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       15.     Please produce all of Charles Kendrick’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       16.     Please produce all of Mark Edwards’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       17.     Please produce all of Vincent Tabler’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       18.     Please produce all of Christopher Haire’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).




                                                 9
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 11 of 18




       19.     Please produce all of Paul Anderson’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       20.     Please produce all of John Gisclair’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       21.     Please produce all of Joseph Keith’s documents discussing, reflecting or relating

to the Macondo well, including correspondence, e-mail from his business and personal account,

OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from his work and personal computer(s).

       22.     Please produce all of Cathleenia Willis’s documents discussing, reflecting or

relating to the Macondo well, including correspondence, e-mail from his business and personal

account, OptiCem data files, OptiCem simulations and reports, cement reports (including drafts),

laboratory test requests and results (including drafts), notes or tally books, text messages, and

files from her work and personal computer(s).

       23.     Please produce all documents of Halliburton personnel involved in the relief

efforts discussing, reflecting or relating to the Macondo well, including correspondence, e-mail

from their business and personal account, OptiCem data files, OptiCem simulations and reports,



                                                 10
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 12 of 18




cement reports (including drafts), laboratory test requests and results (including drafts), notes or

tally books, text messages, and files from work and personal computer(s).

       24.     Please produce all documents discussing, reflecting or relating to complaints

about Jesse Gagliano, including complaints about his performance.

       25.     Please produce all documents discussing, reflecting or relating to complaints

about the foam stability testing, including complaints about its accuracy, utility and

appropriateness.

       26.     Please produce all documents discussing, reflecting or relating to Safety

Observation Cards for the Halliburton laboratory in Broussard, Louisiana.

       27.     Please produce all documents discussing, reflecting or relating to Safety

Observation Cards for the Halliburton laboratory in Duncan, Oklahoma.

       28.     Please produce all documents discussing, reflecting or relating to any analysis of

the BP Internal Investigation Report.

       29.     Please produce all documents discussing, reflecting or relating to any analysis of

the findings in the Presidential Commission’s Report or in the Chief Counsel’s Report.

       30.     Please produce all documents discussing, reflecting or relating to any

communication where Halliburton informed or warned BP or any other party that the cement job

pumped on April 19-20, 2010 would fail to achieve zonal isolation.

       31.     Please produce the data files underlying the OptiCem runs for the Macondo well,

including all data used to generate the Fluid Positions graph in the OptiCem reports dated April

14, 15 and 18, 2010.

       32.     Please produce all documents discussing, reflecting or relating to any

communications and materials provided to any body conducting an investigation, including any



                                                 11
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 13 of 18




Congressional committee, the Department of Justice, the Federal Bureau of Investigation, the

National Commission on the BP Deepwater Horizon Oilspill, or the Bureau of Ocean Energy

Management.

       33.     Please produce all documents discussing, reflecting or relating to Halliburton’s

analysis on flow path, including Richard Vargo’s analysis, on or before his testimony before the

Presidential Commission on November 8, 2010.

       34.     Please produce all documents discussing, reflecting or relating to Halliburton’s

analysis on flow path, including Richard Vargo’s analysis, after his testimony before the

Presidential Commission on November 8, 2010.

       35.     Please produce all documents supporting a theory of hydrocarbon flow up the

annulus as described by Richard Vargo on November 8, 2010 before the Presidential

Commission and at his deposition on March 30-31, 2011.

       36.     Please produce all documents discussing, reflecting or relating to the “pressure

drop” that Richard Vargo described on November 8, 2010 before the Presidential Commission

and at his deposition on March 30-31, 2011, including the analysis that Mr. Vargo performed.

       37.     Please produce all documents discussing, reflecting or relating to the “volumetric

analysis” that Richard Vargo described on March 31, 2011 at his deposition, including the

analysis that Mr. Vargo performed.

       38.     Please produce all documents discussing, reflecting or relating to any guideline or

best practice, Halliburton’s or otherwise, for interpreting foamed cement stability testing,

including documents stating that a one pound-per-gallon difference between the target cement

slurry density and the cured cement density indicates a stable foamed cement.




                                                12
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 14 of 18




       39.     Please produce all documents discussing, reflecting or relating to any pre-incident

or post-incident testing at the Halliburton laboratory in Duncan, Oklahoma ’s discussing,

reflecting or relating to the Macondo well, including laboratory testing of any slurry to

investigate the slurry used at the Macondo well, including the conductivity tests identified by

Tim Quirk and Richard Vargo at their depositions.

       40.     Please produce all documents discussing, reflecting or relating to Halliburton’s

involvement in the pressure tests conducted at the Macondo well on April 20, 2010.

       41.     Please produce all documents discussing, reflecting or relating to the real-time

data from the April 19-20, 2010 cement job data, including communications between Richard

Vargo, Nathaniel Chaisson, Paul Anderson and Vincent Tabler discussing, reflecting or relating

to the pressure drop.

       42.     Please produce all documents discussing, reflecting or relating to communications

between Halliburton and Anadarko discussing, reflecting or relating to the Macondo well.

       43.     Please produce all documents discussing, reflecting or relating to communications

between Halliburton and Mitsui Offshore Exploration or MOEX discussing, reflecting or relating

to the Macondo well.

       44.     Please produce all documents discussing, reflecting or relating to cementing

operations for the relief effort, including increased supervision and additional testing.

       45.     Please produce all documents discussing, reflecting or relating to communications

between Halliburton and Transocean discussing, reflecting or relating to the Macondo well.

       46.     Please produce all versions of U.S. Work Methods for Land and Offshore,

including drafts.




                                                 13
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 15 of 18




       47.     Please produce all documents discussing, reflecting or relating to U.S. Work

Methods for Land and Offshore.

       48.     Please produce all documents discussing, reflecting or relating to Halliburton’s

“yellow flag” and “red flag” process.

       49.     Please produce all documents discussing, reflecting or relating to critical wells in

the Gulf of Mexico, including any processes for critical wells.

       50.     Please produce all documents discussing, reflecting or relating to any “playbook”

for the Gulf of Mexico within the preceding ten years.

       51.     Please produce all documents discussing, reflecting or relating to irregular job

reports or IJRs for the Gulf of Mexico.

       52.     Please produce all documents discussing, reflecting or relating to the Opticem

software, including, but not limited, standards, practices, protocols, guidelines and

recommendations for inputs and outputs.

       53.     Please produce all documents discussing, reflecting or relating to the shelf life of

the components of the cement slurry pumped at the Macondo well, including the shelf life of the

cement, the dry blend and each of the dry and liquid additives.

       54.     Please produce documents sufficient to identify the User ID in the Viking system

for each Halliburton employee.

       55.     Please produce all documents discussing, reflecting or relating to the recorded

testimony or interview, including transcripts or notes, of any Halliburton employee discussing,

reflecting or relating to the Macondo well, including testimony or interview given to any

Congressional committee, the Department of Justice, the Federal Bureau of Investigation, the




                                                14
  Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 16 of 18




National Commission on the BP Deepwater Horizon Oilspill, or the Bureau of Ocean Energy

Management.

       56.     Please produce all documents discussing, reflecting or relating to the data in the

Viking database for the Macondo well.

       57.     Please produce all documents describing the roles or responsibilities of

Halliburton’s cementing personnel, including the roles or responsibilities of the account

representative, cement engineer, foam cementer, cementer, lab technician, chemist, lab manager,

and region manager for cementing.

       58.     Please produce all documents describing the roles or responsibilities of

Halliburton’s mud logging personnel.

       59.     Please produce all documents describing the Halliburton safety procedures or

practices, including HSE and HSSE policies, stop work programs and safety rules.

       60.     Please produce all documents discussing, reflecting or relating to Halliburton’s

preservation of evidence from the Deepwater Horizon incident, including rig samples or

representative samples of the cement slurry used on the production interval of the Macondo well.

       61.     Please produce all documents discussing, reflecting or relating to Halliburton’s

preservation of electronic data from Halliburton’s work on the Macondo well.



       Dated: April 3, 2011                          Respectfully submitted,

                                                     /s/ J. Andrew Langan, P.C.
                                                     Richard C. Godfrey, P.C.
                                                     J. Andrew Langan, P.C.
                                                     KIRKLAND & ELLIS LLP
                                                     300 North LaSalle Street
                                                     Chicago, Illinois 60654
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                                                     Facsimile:     (312) 862-2200


                                                15
Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 17 of 18




                                       and
                                       Don K. Haycraft (Bar #14361)
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                                       Attorneys for BP Exploration & Production
                                       Inc. and BP America Production Company




                                  16
Case 2:10-md-02179-CJB-DPC Document 1965-6 Filed 04/15/11 Page 18 of 18




                               CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing has been served on All Counsel by

 electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

 Order No. 12, which will send a notice in accordance with the procedures established in

 MDL 2179, on this 3rd day of April, 2011.




                                                  /s/ J. Andrew Langan, P.C.




                                             17
